        Case 4:17-cr-00009-MAC-CAN Document 19 Filed 03/20/17 Page 1 of 1 PageID #: 31
                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION




UNITED STATES OF AMERICA                                      Criminal Number:   4:17-cr-00009-MAC


vs.

Chia Jean Lee


                             RETURN/SURRENDER OF PASSPORT


  PASSPORT NUMBER:           314415803 (expires 1/26/2027)
                             303495891 (expires 07/19/2021)


  COUNTRY: REPUBLIC OF CHINA


          3/20/2017
  DATE:____________________________



      David O’Toole, Clerk


        Faye Thompson
  /S/________________________
      Docket Specialist




  ____________________________
  Receipt of Passport


  DATE:________________
